      Case 1:25-cv-01144-JAV        Document 36       Filed 02/11/25     Page 1 of 2




                            UNITED STATES DISTRICT COURT

                  FOR THE SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK; STATE OF ARIZONA,
STATE OF CALIFORNIA, STATE OF
COLORADO, STATE OF CONNECTICUT, STATE
OF DELAWARE, STATE OF HAWAII, STATE OF
ILLINOIS, STATE OF MAINE, STATE OF
MARYLAND, COMMONWEALTH OF              C.A. No. ___25-cv-001144___
MASSACHUSETTS, STATE OF MINNESOTA,
STATE OF NEVADA, STATE OF NEW JERSEY,  MOTION FOR ADMISSION
STATE OF NORTH CAROLINA, STATE OF      PRO HAC VICE
OREGON, STATE OF RHODE ISLAND, STATE
OF VERMONT, and STATE OF WISCONSIN,

              Plaintiffs,

       v.

DONALD J. TRUMP, IN HIS OFFICIAL
CAPACITY AS PRESIDENT OF THE UNITED
STATES; U.S. DEPARTMENT OF THE
TREASURY; and SCOTT BESSENT, IN HIS
OFFICIAL CAPACITY AS SECRETARY OF U.S.
DEPARTMENT OF THE TREASURY,

              Defendants.



                      MOTION FOR ADMISSION PRO HAC VICE

      Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the

Southern and Eastern Districts of New York, David D. Day hereby move this Court for an

Order for admission to practice Pro Hac Vice to appear as counsel for Plaintiff State of

Hawaii in the above-captioned action.

      I am in good standing of the bar of the State of Hawaii, and there are no pending

disciplinary proceedings against me in any state or federal court. I have never been
      Case 1:25-cv-01144-JAV        Document 36      Filed 02/11/25      Page 2 of 2




convicted of a felony. I have never been censured, suspended, disbarred or denied

admission or readmission by any court. I have attached the affidavit pursuant to Local

Rule 1.3.

Dated: February 10, 2025                 Respectfully Submitted,


                                         /s/ David D. Day
                                         David D. Day
                                         Special Assistant to the Attorney General
                                         Department of the Attorney General
                                         State of Hawaii
                                         425 Queen Street
                                         Honolulu, Hawaii 96813
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                                         Attorney for Plaintiff State of Hawaii




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